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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                WEST PALM BEACH DIVISION

  HOWARD COHAN,

         Plaintiff,

  vs.                                                         CASE NO.: 9:22-cv-80790-DMM


  DK DELRAY DOWNTOWN LLC
  a Florida Limited Liability Company
  d/b/a COURTYARD BY MARRIOTT
  DELRAY BEACH

        Defendant(s).
  ____________________________________/

              NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE

         Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff, HOWARD COHAN and his

  undersigned counsel hereby give notice that the above captioned action is voluntarily dismissed,

  without prejudice against Defendant, DK DELRAY DOWNTOWN LLC, a Florida Limited

  Liability Company, d/b/a COURTYARD BY MARRIOTT DELRAY BEACH,.

                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on May 27, 2022, I electronically filed the foregoing document

  with the Clerk of the Court using CM/ECF. I also certify that the foregoing document is being

  served this day on Defendant’s Registered Agent, via email U.S.P.S. mail at the following address:

         DK DELRAY DOWNTOWN, LLC
         c/o CORPORATION SERVICE COMPANY
         1201 HAYS STREET
         TALLAHASSEE, FL 32301
                                        By: /s/ Gregory S. Sconzo
                                        Gregory S. Sconzo, Esq.
                                        Florida Bar No.: 0105553
                                        Samantha L. Simpson, Esq.
                                        Florida Bar No.: 1010423
                                        Sconzo Law Office, P.A.
                                        3825 PGA Boulevard, Suite 207
                                        Palm Beach Gardens, FL 33410
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                                          Telephone: (561) 729-0940
                                          Facsimile: (561) 491-9459
                                          Email: greg@sconzolawoffice.com
                                          Email: samantha@sconzolawoffice.com
                                          Attorneys for Plaintiff
